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 8                              IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
11   ALEKSANDR YAKOVLEV,                          )            No. C 07-0933 JF (PR)
                                                  )
12                              Petitioner,       )            ORDER OF DISMISSAL
                                                  )
13      vs.                                       )
                                                  )
14   ALBERTO GONZALES, et. al.,                   )
                                                  )
15                              Respondents.      )
                                                  )
16
17            Petitioner, proceeding pro se, filed a petition for a writ of habeas corpus pursuant
18   to 28 U.S.C. § 2241 and a motion to proceed in forma pauperis. On that same day, the
19   court sent a notification to petitioner informing him that he had not paid the $5.00 filing
20   fee or submitted a completed in forma pauperis application with supporting
21   documentation of a certificate of funds from his prisoner account and a trust account
22   statement showing transactions for the prior six months. The court provided a copy of the
23   correct in forma pauperis application, along with a return envelope, and a notification that
24   the case would be dismissed if petitioner failed to pay the fee or file a completed
25   application with supporting documentation within thirty days.
26            On March 7, 2007, the court’s notice was returned by mail as undeliverable. As of
27   the date of this order, petitioner has not communicated with the court or provided his
28   updated address.

     Order of Dismissal
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 1            Accordingly, the instant habeas action is DISMISSED without prejudice for
 2   petitioner’s failure to file a completed in forma pauperis application and failure to advise
 3   the court of his current address pursuant to Civil Local Rule 3-11. No filing fee is due.
 4   The clerk shall terminate all pending motions and close the file.
 5            IT IS SO ORDERED.
 6   DATED: 7/2/2007                            /s/ Ronald M. Whyte
                                                RONALD M. WHYTE
 7                                              United States District Judge
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     Order of Dismissal
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 1   This is to certify that on     7/5/2007                                 , a copy of this
     ruling was mailed to the following:
 2
 3   Aleksandr Yakovlev
     116482 C-Pod
 4   Yuba County Jail
     P.O. Box 1031
 5   Marysville, CA 95901
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     Order of Dismissal
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